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15
                    IN THE UNITED STATES DISTRICT COURT
16
17               FOR THE CENTRAL DISTRICT OF CALIFORNIA
18
     UNITED STATES OF AMERICA                  Case No. CV18-03591
19   and
20                                             RESPONSE TO ORDER TO SHOW
     THE STATES OF ARKANSAS,                   CAUSE
21   CALIFORNIA, COLORADO,
22   CONNECTICUT, DELAWARE,                    [Local Rule 83-1.3]
     FLORIDA, GEORGIA, HAWAII,
23   ILLINOIS, INDIANA, IOWA,
24   LOUISIANA, MARYLAND,
     MASSACHUSETTS, MICHIGAN,
25   MINNESOTA, MISSOURI,
26   MONTANA, NEVADA, NEW
     JERSEY, NEW MEXICO, NEW
27   YORK, NORTH CAROLINA,
28   OKLAHOMA, RHODE ISLAND,
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                                                    Response to Order to Show Cause
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1    TENNESSEE, VERMONT, VIRGINIA,
     WASHINGTON, AND THE DISTRICT
2    OF COLUMBIA
3    ex rel.
     ALEXANDER VOLKOFF, LLC,
4
5                                Relator,
     vs.
6
7    JANSSEN PHARMACEUTICA N.V.,
     JANSSEN PHARMACEUTICALS,
8    INC., and JANSSEN RESEARCH &
9    DEVELOPMENT, LLC, JOHNSON &
     JOHNSON, and ORTHO-MCNEIL
10
11   Defendants.

12
13         The Relator in this matter, ALEXANDER VOLKOFF, LLC, has been in
14   the process of obtaining permission to dismiss this case for more than one month.
15   While the federal government has communicated its necessary consent to
16   dismissal without prejudice, required under 31 U.S.C. section 3730(b)(1), consent
17   to dismiss is also required from each of the States that are named as parties in the
18   complaint. Relator has been in contact through its counsel with the Attorneys
19   General of those States, and with the representative of the National Association of
20   Medicare Fraud Control Units (NAMFCU) to coordinate obtaining the States’
21   permission to dismiss this matter. Attached as Exhibit A is a true and correct
22   copy of a letter from the Assistant Attorney General of the District of Columbia
23   confirming authorization to dismiss the case without prejudice (the District of
24   Columbia is not part of NAMFCU). Attached as Exhibit B is a true and correct
25   chart documenting consent to dismiss from various NAMFCU-participating States
26   prepared by Deputy Attorney General Carlotta Hivoral, who is in charge of
27   NAMFCU coordination in this matter. As of the time of this filing, consent for
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                                                         Response to Order to Show Cause
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1    Delaware and New York has not yet been confirmed through NAMFCU or
2    undersigned conusel, but Relator anticipates obtaining that consent very soon, and
3    will prepare a request for dismissal without prejudice as soon as consent has been
4    obtained from all the party States.
5
6    Dated: May 8, 2018               ALEXANDER VOLKOFF, LLC, Relator
7
8
                                       By: /s/ John R. Parker, Jr.
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